Case 2:03-cr-20475-.]DB Document 8 Filed 05/02/05 Page 1 of 2 Page|D 6

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UNITED STATES DISTRICT COURT '
WEsTERN DISTRICT oF TENNESSEE g;_; ma 59 p;._; q, s g
Western Division ' a ` U `

UNITED STATES OF AMERICA

 

-vs- Case No. 2:05cr20150-D
03-20475-3 /
WILLIAM VISOR

 

ORDER OF DETENT|ON PENDING TRIAL
FlND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECT|ONS REGARD|NG DETENTION

WILLIAM VISOR is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. WILLIAM VISOR shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection With a Court proceeding

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:03-CR-20475 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

